Case 3:16-cv-01653-RMS Documenti_ Filed 10/03/16 Pagelof5

UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT

SCOTT POWELL
VS. CIVIL ACTION NO.
JILL JONES-SODERMAN and

FOUNDATION FOR THE CHILD :
VICTIMS OF THE FAMILY COURTS — : OCTOBER 3, 2016

COMPLAINT

1. This is an action for brought by a citizen and resident of the State of
against two citizens and residents of the State of New York. The amount in
dispute, exclusive of interest and costs, is greater than seventy-five thousand
dollars ($75,000).

2. Jurisdiction of this court is invoked under the provisions of Title 28,
Section 1332, of the United States Code.

3. The plaintiff is an adult citizen of the United States who resides in New
Canaan, Connecticut.

4. The defendant Jill Jones-Soderman is a citizen of the State of New
York. She holds herself out to be a social worker and claims on her website that

she is “a successful private practitioner of mediation, psychotherapy and
Case 3:16-cv-01653-RMS Documenti Filed 10/03/16 Page2of5

psychoanalysis,” but her license to practice her profession has been suspended
by the State of New York. She is the founder and director of the defendant
Foundation for the Child Victims of the Family Courts, a Section 501c3
organization registered in the State of New York. Although it claims to be
nonprofit, it charges retainer fees to “clients” it purports to represent.

5. At all times herein mentioned, the defendant Jill Jones-Soderman
acted within the scope of her duties as the agent, servant and employee of the
defendant Foundation for the Child Victims of the Family Courts and for its
economic benefit.

6. Beginning on or about April 25, 2016, and continuing without
interruption to the present, the defendants have placed on their public website
and thereby published throughout the world false and malicious accusations
against the plaintiff including but not limited to the following:

A. That living with the plaintiff is “a death sentence” for the
plaintiff's children;

B. That the plaintiff is a “vicious abuser” of his children;

C. That the plaintiff is an “accused child abuser;”

D. That the plaintiff's good reputation in his community is
“pased on the reluctance of those too fearful to take on the

rage and intimidation to report him for crimes for which he
Case 3:16-cv-01653-RMS Documenti Filed 10/03/16 Page 3of5

should have been reported;”

E, That the plaintiff, on an ongoing basis, “hits the buttocks of
his younger daughter,” and is “grabbing/patting [her]
buttocks” and the breasts of his older daughter;

F. That evidence of sexual assaults being committed by the
plaintiff upon his minor daughters “are now on camera...”;

G. That the plaintiff is “an accused child sexual abuser [Who
has been elevated] to the position of teacher in a program
alerting parents to sexual abuse in the camp program, where
he has been a long time camp Director at Woodway Country
Club, in Darien, Connecticut. This camp Director has an
institutional history, though undisclosed, of inappropriate
behavior with teenage girls and children. He no longer
works as a teacher, but rather as a carpenter in his own
business”;

H. That the plaintiff has “threatened and intimidated” his
daughters;

I. That the plaintiff is comparable to other prominent child
abusers and that “the accused abuser, Scott Powell will not

be allowed to languish under the veil of secrecy. He has

Case 3:16-cv-01653-RMS Documenti Filed 10/03/16 Page4of5

forcibly, through threats, intimidation...been able to hide in
plain sight. We expect that Scott Powell’s reign of terror
over his children...will not be allowed to prevail...”;

J. That one of the plaintiffs minor daughters (whose name the
defendants publish on their website) “was the major target of
Scott Powell’s aggressive abuse” while the other minor
daughter (whose name the defendants also publish on their
website) “was the target of Scott Powell’s most aggressive
sexual incursions.”

7. As aresult, the plaintiff has suffered severe emotional distress.

8. The conduct of the defendants described above is extreme and
outrageous and has been carried out intentionally and maliciously and with full
knowledge that it would cause the plaintiff, like any person of ordinary sensibility
under the circumstances, to suffer emotional distress.

9. The aforesaid statements constitute defamation per se.

10. The aforesaid statements constitute an invasion of privacy.

11. The aforesaid conduct of the defendants constitutes the intentional
infliction of emotional distress.

12. The aforesaid conduct of the defendants constitutes the negligent

infliction of emotional distress.
Case 3:16-cv-01653-RMS. Documenti_ Filed 10/03/16 Page5of5

WHEREFORE, the plaintiff claims judgment against the defendants and

each of them, jointly and severally, for compensatory damages, punitive

damages and costs.

The plaintiff claims trial by jury.

THE PLAINTIFF

BY: /s/ (ct00215)
JOHN R. WILLIAMS (ct00215)
51 Elm Street
New Haven, CT 06510
203.562.9931
Fax: 203.776.9494
jrw@johnrwilliams.com
His Attorney

